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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                              §           CHAPTER 11
                                    §
SEA GIRT LLC,                       §           CASE NO. 21-30080-hdh11
                                    §
      DEBTOR                        §
______________________________________________________________________________

IN RE:                                             §                CHAPTER 11
                                                   §
NATIONAL RIFLE ASSOCIATION                         §
OF AMERICA,                                        §                CASE NO. 21-30085-sgj11
                                                   §
        DEBTOR1                                    §


              ORDER GRANTING DEBTORS’ EMERGENCY MOTION FOR
                 JOINT ADMINISTRATION OF CHAPTER 11 CASES

        Upon consideration of the Debtors’ emergency motion for joint administration of their

Chapter 11 cases (the “Motion”) [Docket No. ___],2 the Court finds that: (i) it has jurisdiction to

consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157(b)(2) and

1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
2
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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1334; (ii) venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) due and

proper notice of the Motion has been provided and no other or further notice need be provided;

and (iv) the relief requested in the Motion is in the best interests of the Debtors, their estates, and

creditors. Having reviewed the Motion and having heard the statements and evidence offered in

support of the relief requested therein at a hearing before this Court, the Court determines that

the legal and factual bases set forth in the Motion and at the hearing establish just cause for the

relief granted herein. Accordingly, it is hereby ORDERED that:

           1.   The Motion is GRANTED as set forth herein.

           2.   The above-captioned Chapter 11 cases shall be and hereby are consolidated for

procedural purposes only and shall be jointly administered by the Court effective as of the

Petition Date. However, nothing in this Order shall be deemed or construed as directing or

otherwise effecting a substantive consolidation of the above-captioned cases or the Debtors’

estates.

           3.   The approved caption of the jointly administered cases shall be:

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                            §                CHAPTER 11

                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-____
OF AMERICA and SEA GIRT LLC                       §
                                                  §
           DEBTORS3                               §                JOINTLY ADMINISTERED




3
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

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The foregoing caption satisfies the requirements set forth in Section 342(c)(1) of the Bankruptcy

Code and Bankruptcy Rule 2002(n).

           4.   All pleadings, papers, orders, and documents (other than proofs of claim,

schedules, statements, and monthly operating reports) shall be filed and docketed in case number

21-30085. All schedules, statements, and monthly operating reports shall be filed and docketed

in the specific member case for which they are applicable. One disclosure statement and plan of

reorganization may be filed for the Debtors by any plan proponent. Hearings in these jointly

administered cases shall be joint hearings unless otherwise specified.

           5.   The Clerk shall use a single docket, creditor matrix and Master Service List, for

the filing and docketing of all orders, pleadings, papers and documents in the Debtors’ cases into

case number 21-30085. The Clerk shall maintain a separate claims register for each Debtor. An

entry shall be entered on the docket of case number 21-30085 to reflect the joint administration

of these chapter 11 cases:

                An order has been entered in accordance with Rule 1015(b) of the Federal
                Rules of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of
                Bankruptcy Practice and Procedure of the United States Bankruptcy Court
                for the Northern District of Texas directing joint administration of the
                chapter 11 cases of: Sea Girt LLC, Case No. 21-30080; and National
                Rifle Association of America, Case No. 21-30085. All further pleadings
                and papers shall be filed, and all further docket entries shall be made, in
                Case No. 21-30085.

           6.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

           7.   The Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation and enforcement of this Order.

                                  # # # END OF ORDER # # #



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